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                 Exhibit 3
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                                   Google's Chromecast               829-5
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                                                                                                               $35 Price




               GAMES


               Google's Chromecast A
               Brilliant Play For The Living
               Room -- Especially With $35
               Price Tag
               Jason Evangelho Senior Contributor
               I write about Steam Deck, open source software, and                                                Follow
               desktop Linux.

                                                                                                Jul 24, 2013, 02:02pm EDT



                    This article is more than 9 years old.


               Google is taking another stab at
               being the center of your living room,
               and this time they've opted for an
               affordable, platform-agnostic device
               called Chromecast.

               Essentially Chromecast is a 2-inch                                 Google's Chromecast device | Image
                                                                                  credit: Google
               HDMI dongle running a stripped
               down version of Google's Chrome OS. A user plugs it into any
               HDMI-equipped television or monitor, connects it to their home
               Wireless network, and enjoys the ability to stream content like
               Netflix , YouTube, Google Play Music, or open Chrome tabs to their
               HDTV with the press of a button on their device.

               The appeal should extend beyond the aggressive $35 price tag. At a
               press event earlier today hosted by Sundar Pichai, Google's Senior
               Vice President of Android and Chrome Apps, the company

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               emphasized the importance of not having to learn anything new.
               No additional menus, no unfamiliar user interfaces. Chromecast is
               controlled by software you already use on a daily basis.

               To illustrate its functionality, imagine you're lounging on the couch
               watching House of Cards via Netflix on your Nexus 7 -- or any
               Android tablet or phone. Press the new "cast" button on Netflix,
               and the show gets "beamed" to your television, by signaling to the
               Chromecast to pull that content down from the internet.

               At that point, the device becomes a remote control, but also retains
               its full functionality. In other words, feel free to check your email,
               join a Google Hangout, or jump on Twitter while enjoying the
               content on your TV.

               Here's where Google made a wise decision: Chromecast is app-
               driven, not device-driven. This means it will work with your iPad,
               iPhone, Mac, all Android phones and tablets, even your desktop
               computer. (Blackberry and Windows Phone weren't given a nod,
               however.) Even more brilliant is that the play state of your content -
               - whether it's a simple MP3 or a rented movie -- syncs across all
               these devices, allowing you to pick up and play where left off.




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               With a myriad of more expensive retail devices promising to turn
               your "dumb" TV into a Smart TV, as well as proprietary devices like
               the Roku Streaming Stick, Google has taken a brilliant path by
               augmenting devices we already own, without playing favorites and
               without catering to one ecosystem over another. It even has baked
               in support for multiple users.

               Google also announced an SDK available for developers to add
               Chromecast support to existing apps. Like Chrome OS, the
               Chromecast will auto update ensuring those apps are supported as
               soon as the functionality is available.

               It remains to be seen if consumers will latch on to Chromecast, but
               at $35 it borders on an impulse purchase -- and 3 months of Netflix
               only sweetens the deal. It could even be disruptive to Microsoft ,
               whose Xbox One is designed around uniting devices in your living
               room.

               UPDATE: Chromecast is now available on Amazon.com (with free
               shipping for Prime members) and on Google Play.

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